 

Case eS Document 140

RICHARD H. GREENER (ISB No. 1191)

THOMAS G. WALKER (ISB No, 1856)

LaDAWN MARSTERS (ISB No. 5663)

COSHO, HUMPHREY, GREENER & WELSH, P.A.
Camegie Building

815 West Washington Street

Boise, Idaho 83702

Telephone: (208) 344-7811

Facsimile: (208) 338-3290

LYNN LINCOLN SARKO, WSBA #16569
MARK A. GRIFFIN, WSBA #16296
ELIZABETH A. LELAND, WSBA #23433
KELLER ROHRBACK, L.L.P.

1201 Third Avenue, Suite 3200

Seattle, Washington 98101

Telephone: (206) 623-1900

Facsimile: (206) 623-3384

Attorneys for Plaintiffs

Filed “eo Page 1 of 6

FILED CT 0} 93 PMOQSG USCTID
fe ceva

UNITED Stare
A TES hy see

OCT 29 2003

DGED___ Fiteen ee
ni

IN THE UNTTED STATES DISTRICT COURT FOR THE DISTRICT OF IDAHO

MATTHEW J, DOUGLAS; GLEN DOUGLAS
and ROXANNE SARMENTO, on behalf of
themselves and all others similarly situated,

)

Plaintiffs,
Vv.

PRIMEBUYNETWORK.COM, INC., an
Oklahoma corporation; CHARLES H, MICHEL;
CHARLES CULVER; GARY E. BRYANT; and )
NEWPORT CAPITAL CONSULTANTS, INC.
a Calitornia Corporation,

)
}
)
)
)
)
)
)
)

Defendants.

:)
)
)
)
)

 

No. CIV 01-0207-N-EJL””

Be ES
STIPULATION AND J
ORDER FOR DISMISSAL OF ACTION
AGAINST THE BRYANT DEFENDANTS

I. STIPULATION
WHEREAS, Plaintiffs Matthew Douglas, Glen Douglas, and Roxanne Sarmento

(“Plaintiffs”) and Defendants Gary E. Bryant and N

ewport Capital Consultants, Inc (“Bryant

Stipulation and [Proposed] Order for Dismissal of Action — Page 1

 
 

Case a0 ON Oe SE Document 140 Filed oe Page 2 of 6

Defendants”) request jointly that the Court not require notice of the dismissal to the absent
members of the putative class;

WHEREAS, Plaintiffs and Bryant Defendants make this request of the Court to approve a
voluntary dismissal of the entire Action against the Bryant Defendants without prejudice as to
absent putative class members (but with prejudice with respect to the named plaintiffs) in
accordance with the decision in Diaz v. ‘lrust Territory of Pacific Islands. 876 F.2d 1401, 1408-
1409 (9th Cir. 1989) (“The court's duty to inquire into a settlement or dismissal differs before
and after certification. Before certification, the dismissal is not res judicata against the absent
class members and the court does not need to perform the kind of substantive oversight required
when reviewing a settlement binding upon the class.”), and the district courts within the Ninth
Circuit that have applied Diaz to permit dismissals of pre-certification pulative class actions
without notice. Kas vy. Chevron Corp., Civ. No. C-89-4335-SC, Civ. No, C-89-4413 SC, 1992
U.S. Dist LEXIS 13635, *1 (N.D. Cal. Aug, 20, 1992) (approving voluntary dismissal of class
absent notice to class); Tepper v. Western Inv. Real Estate Trust, No. 92-2746 JIPV, 1993 U.S.
Dist. LEXIS 2148, *1 (N.D. Cal. Feb 23, 1993) (approving voluntary dismissal of class without
notice), Johnson v. Peters Truck Lines, No. C-91-3809-JPV, 1993 U.S. Dist, LEXIS 3928, *1
(N.D. Cal. Mar. 23, 1993) (approving voluntary dismissal of class action, withoul notice);
Robbins v. Hometown Buffet, Inc., Cuse No. 94-1655-] (BTM), 1995 U.S. Dist. LEXIS 17870
(S.D. Cal. Mar. 15, 1995) (granting parties” request for voluntary dismissal without prejudice,
without notice to putative class members); Preferred MSO of _America-Austin LLC vy.
Quadramed Corp., 85 F. Supp. 2d 974, 979 (C.D. Cal. 1999) (noting that existence of class does
not preclude plaintiff from settling his individual claims); and

WHEREAS, the effectiveness of this Stipulation For Dismissal of Action Against the

Bryant Defendants is dependent upon Court approval of the voluntary dismissal of the instant

Stipulation and [Proposed] Order for Dismissal of Action ~ Page 2

 

 
 

Case aOR OV Og SE Document 140 Filed “eo Page 3 of 6

action with prejudice as to the named Plaintiffs and without prejudice as to absent members of
the putative class members and without notice to the putative class.

THEREFORE, the Plaintiffs and the Bryant Defendants, by and through their
undersigned attorneys, stipulate to the dismissal of Plaintif{s’ claims brought against the Bryant
Defendants in this action and set forth in the Complaint, These parties stipulate that the claims
of the named Plaintiffs against the Bryant Defendants be dismissed WITH PREJUDICE. The
parties stipulate that the claims asserted on behalf of the absent putative class members against
the Bryant Defendants be dismissed WITHOUT PREJUDICE. Except that the Bryant
Defendants shall pay Plaintiffs’ counsel $10,000 towards the costs of this litigation, each party
shall bear its own costs oe including attorneys’ fees, and waive any rights of appeal.

DATED this ) day of October 2003,

MPHREY, GREENER & HALL, FARLEY, OBERRECHT &
BLANTON, P..

Riloo

COSHO,
WELSIL,

  
   

 
    

 

 

By: os é :
Richard? H. Greener “ Paul J. Afgust{ne
Thomas G, Walker
LaDawn Marsters Attomcys for Béfendants Gary E, Bryant and
Newport Capital Consultants, Inc.
KELLER ROHRBACK L.L.P.

Lynn Lincoln Sarko, WSBA #416569
Mark A. Griffin, WSBA #16296
Elizabeth A. Leland, WSBA #23433
1201 Third Avenue, Suite 3200
Seattle, Washington 98101
Telephone: (206) 623-1900
Facsimile: (206) 623-3384

Attorneys for Plaintiffs Matthew Douglas,
Glen Douglas, and Roxanne Sarmento

Stipulation and [Proposed] Order for Dismissal of Action — Page 3

 

 
 

Case one Document 140 Filed 10/29/03 Page 4 of 6

II. ORDER
After consideration of the Stipulation, it is hereby ORDERED, ADIUDGED, and

DECREED that the Stipulation is APPROVED. The claims of the named Plaintiffs in this action
against the Bryant Defendants are hereby DISMISSED WITH PREJUDICE. The claims
asserted on behalf of the putative class members against the Bryant Defendants are hereby
DISMISSED WITHOUT PREJUDICE. The Court has considered the parties’ request that no
notice of the pre-certification dismissal be sent to the absent members of the pulative class. The
Court tinds that the factors cited in Diaz v, Trust Tertilory of Pacific Islands, 876 F. 2d 1401 (9th
Cir, 1989), warrant the approval of a voluntary dismissal without notice to the absent members
of the uncertified class, Accordingly, The Court finds good cause to excuse notice to the
putative class. d
DATED this #* “day of October 2003.

    
 

 

THE ED SIAYE BLE ED aDT J. LODGE
UNITED ST. as DIST. wf I JUDGE

Stipulation and [Proposed] Order for Dismissal of Action — Page 4

 

 
 

Case eee Document 140 Filed 10/29/03 Page 5 of 6
ja
United States District Court
for the

District of Idaho
October 29, 2003

* * CLERK'S CERTIFICATE OF MAILING * *

Re: 2:01-cyv-00207
2:01-ev-00368

I certify that I caused a copy of the attached document to be mailed or faxed
to the following named persona:

Richard H Greener, Esq. 1-208-338-3290
COSHO HUMPHREY GREENER & WELSH

815 W Washington

Boise, ID &843702

Thomaa G Walker, Eaq. 1-208-955-2012
COSHO HUMPHREY GREENER & WELSH

815 W Washington

Boise, ID 83702

\ LaDawn M Marsters, Eaq. 1-208-338-3230
COSHO HUMPHREY GREENER & WELSH
815 W Washington
Boise, ID 683702

LaPawn Marie Marsters, Esq. 1-208+338-3290
COSHO HUMPHREY GREENER & WELSH

815 W Washington

Boise, ID 83702

Lynn Lincoln Sarko, Esq. 1+#206-623-3384
KELLER ROARBACK

1201 3rd Ave #3200

Seattle, WA 98101

Mark A Griffin, Esa. 1-206-623-3364
KELLER ROHRBACK

1201 3rd Ave #3200

Seattle, WA 98201

Elizabeth A Leland, Esq. 1-206-623-3384
KELLER ROHRBACE

1201 3rd Ave #3200

Seattle, WA 938101

Steven C Bowman, Eaq. 1-208-343-8869
HOLLAND & HART

PO Box 2527

Boise, TD 83701

 
B News Syayres'/ Ong Sh Dopument 1d. Filed — | Page 6 of 6
HOLLAND & HART
PO Box 2527
Boise, ID 83701

Aimee Y¥Y Wong, Esq.
OPPENHEIMER WOLFF & DONNELLY
840 Newport Center Dr #700
Newport Beach, CA 92660

Paul C Nyquist, Esq.

OPPENHEIMER WOLFF & DONNELLY

840 Newport Center Dr #700
\ Newport Beach, CA 92660

Grace ¥ Horoupian, Eaq.
OPPENHEIMER WOLFF & DONNELLY
840 Newport Center Dr #700
Newport Beach, CA 926690

John T Edwards, Eaq.
BROWN & EDWARDS

1221 W Hays

Boise, ID 83702-5316

Paul J Augustine, Eaq.

HALL PARLEY OBERRECHT & BLANTON
PO Box 1271

Boise, ID 83701-1271

Chief Judge B. Lynn Winmill
wr Judge Edward J. Lodge
Chief Magistrate Judge Larry M. Boyle

wMagistrate Judge Mikel H. Williams

Visiting Judges:
Judge David ©. Carter
Judge John ¢C. Coughenour
Judge Thomas 8. #Zilly

 

Cameron S. Burke, Clerk

Date: (0 “LA 0 ’ BY: Wh AK 7

(Deputy clerly

 

 

 
